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 4
     Attorney for Defendant
 5
     Damone Block
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                       )       No. CR-S-08-0212 LKK
                                                     )
10
                                                     )
            Plaintiff,                               )       STIPULATION AND ORDER
11
                                                     )       CONTINUING STATUS CONFERNCE
     v.                                              )
12
                                                     )       Date: 8/11/09
     DAMONE BLOCK,                                   )       Time: 9:15 a.m.
13
                                                     )       Judge: Hon. Lawrence K. Karlton
                                                     )
14          Defendant.                               )
                                                     )
15
                                                     )
                                                     )
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18
                    IT IS HEREBY stipulated between the United States of America through its
19
     undersigned counsel, Mary L. Grad, Assistant United States Attorney, together with counsel for
20
     defendant Damone Block, John R. Manning, Esq., that the status conference presently set for
21
     August 11, 2009 be continued to October 14, 2009, at 9:15 a.m., thus vacating the presently
22
     set status conference. Counsel for the parties agree that this is an appropriate exclusion of time
23
     within the meaning of Title 18, United States Code § 3161(h)(8)(B)(iv) (continuity of counsel/
24
     reasonable time for effective preparation, specifically Mr. Manning will be in trial) and Local
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26
     Code T4, and agree to exclude time from the date of the filing of the order until the date of the

27
     status conference October 14, 2009.

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                                                         1
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 1

 2   IT IS SO STIPULATED
 3   Dated: August 7, 2009                     /s/ John R. Manning____________
                                               JOHN R. MANNING
 4
                                               Attorney for Defendant
 5                                             Damone Block

 6
     Dated: August 7, 2009                     Lawrence G. Brown
 7
                                               United States Attorney
 8

 9                                             by: /s/ Mary L. Grad
10
                                               MARY L. GRAD
                                               Assistant United States Attorney
11

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                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                      ) No. CR-S-08-0212 LKK
                                                    )
11
                                                    )
            Plaintiff,                              ) ORDER TO
12
                                                    ) CONTINUE STATUS CONFERNCE
     v.                                             )
13
                                                    )
     DAMONE BLOCK,                                  )
14
                                                    )
                                                    )
15          Defendant.                              )
                                                    )
16
                                                    )
                                                    )
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19
            GOOD CAUSE APPEARING, it is hereby ordered that the August 11, 2009 status
20
     conference be continued to October 14, 2009 at 9:15 a.m. I find that the ends of justice warrant
21
     an exclusion of time and that the defendant’s need for continuity of counsel and reasonable time
22
     for effective preparation exceeds the public interest in a trial within 70 days. THEREFOR IT IS
23
     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (8) (B) (iv) and
24
     Local Code T4 from the date of this order to October 14, 2009.
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26
     IT IS SO ORDERED.
     Dated: August 11, 2009
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